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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
ANTHONY LAWLER                            :
408 3rd Street                            :
Brookhaven, PA 19015                      :
                                          :   Civil Action No. _______________
                Plaintiff,                :
                                          :
       v.                                 :
                                          :
KYLE STANCIL                              :
271 Ardmore Avenue                        :
Lansdowne, PA 19050, AND                  :
                                          :
UNITED STATES POSTAL SERVICE              :
400 Edgmont Avenue                        :
Chester, PA 19013, AND                    :
                                          :
UNITED STATES OF AMERICA                  :
U.S. Department of Justice                :
950 Pennsylvania Avenue, NW               :
Washington, DC 20530-0001, AND            :
                                          :
DIONNE COBB                               :
408 3rd Street                            :
Brookhaven, PA 19015,                     :
                                          :
                                          :
                Defendants.               :


                              NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1442 and 2679(d), the United States of America

removes this action from the Court of Common Pleas of Delaware County,

Pennsylvania, to the United States District Court for the Eastern District of

Pennsylvania and, in support, avers as follows:
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      1.      On or about July 21, 2022, plaintiff Anthony Lawler commenced this

action by filing a Complaint in the Court of Common Pleas of Delaware County. See

Complaint, attached hereto as Exhibit A.

      2.      The action arises out of a motor vehicle accident. Plaintiff was

allegedly a passenger in one of the motor vehicles involved in the accident. The

Complaint alleges negligence and carelessness by the defendants.

      3.      Defendant Kyle Stancil is an employee of the United States Postal

Service who was at all times relevant to the Complaint acting within the scope of

his federal employment. The United States Attorney’s certification of scope of

employment under 28 U.S.C. § 2679(d)(2) is attached hereto as Exhibit B.

      4.      The Federal Tort Claims Act, 28 U.S.C. §§ 1346(b)(1) and 2679 et seq.,

is the exclusive remedy for negligence actions brought against any agency of the

United States or any federal employee who was acting in their official capacity or

within the scope of their employment.

      5.      Actions brought under the Federal Tort Claims Act may only be

brought in federal district court. 28 U.S.C. § 1346(b)(1).

      6.      Therefore, pursuant to Section 2679(d)(2) of the Federal Tort Claims

Act, and 28 U.S.C. § 1442(a)(1), this entire action must be removed to district court.

Under 28 U.S.C. § 2679(d)(2), the action may be removed any time before trial.

      7.      No bond is required to accompany this notice as it is being filed on

behalf of the United States. See 28 U.S.C. § 2679(d)(2).




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      8.      A certified copy of this Notice of Removal is being filed in the

Prothonotary’s Office of the Court of Common Pleas of Delaware County,

Pennsylvania and is being sent to all adverse parties pursuant to 28 U.S.C.

§ 1446(d).

      WHEREFORE, the United States hereby submits notice of removal of this

action.

Dated: September 23, 2022                Respectfully submitted,


                                         JACQUELINE C. ROMERO
                                         United States Attorney

                                         /s/ Susan R. Becker on behalf of
                                         GREGORY DAVID
                                         Assistant United States Attorney
                                         Chief, Civil Division

                                         ____________________________
                                         STACEY L. B. SMITH
                                         Assistant United States Attorney
                                         615 Chestnut Street, Suite 1250
                                         Philadelphia, PA 19106
                                         Telephone: (215) 861-8348

                                         Email: Stacey.Smith@usdoj.gov




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                          CERTIFICATE OF SERVICE

      I certify that on this date I caused a copy of the foregoing Notice of Removal

and the exhibits attached thereto, which is available for viewing and downloading

via the Court’s ECF system, to be filed with the Clerk of Court via ECF, and I

caused a copy of those documents to be sent by both first class and certified mail,

postage paid, to:


                          George A. Marinelli, Esq.
                          AIVAZOGLOU & MIKROPOULOS
                          1425 Chester Pike
                          Eddystone, PA 19022
                          (610) 876-8880


Dated: September 23, 2022                     __________________
                                              STACEY L.B. SMITH
                                              Assistant U.S. Attorney
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                        ([KLELW$
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JS 44 (Rev. 10/20)               Case 2:22-cv-03801-AB Document
                                                   CIVIL COVER1 SHEET
                                                                 Filed 09/23/22 Page 20 of 22
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
         ANTHONY LAWLER                                                                                 UNITED STATES OF AMERICA, et al.
   (b)   County of Residence of First Listed Plaintiff          Delaware                                County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
      George A. Marinelli                                                                            Stacey L.B. Smith, Assistant United States Attorney
      Aivazoglou & Mikropoulos                                                                       615 Chestnut Street, Suite 1250, Philadelphia, PA 19130
      1425 Chester Pike, Eddystone, PA 19022                                                         Phone: (215) 861-8348
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

✖ 2    U.S. Government                4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                          (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                    PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                       310 Airplane                     365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument             Liability                   367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &                 Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment         Slander                         Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’               Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted             Liability                   368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans               340 Marine                           Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)         345 Marine Product                   Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment           Liability                  PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits      ✖ 350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits          355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                   Product Liability            380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability   360 Other Personal                   Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                        Injury                       385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                   362 Personal Injury -                Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                       Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                  441 Voting                       463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment       442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                443 Housing/                         Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability           Accommodations               530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property      445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                       Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                   446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                       Other                        550 Civil Rights                  Actions                                                                State Statutes
                                   448 Education                    555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding                 State Court                       Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                           (specify)                 Transfer                          Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. § 1346 (b)(1); 2679(d)(2).
VI. CAUSE OF ACTION                   Brief description of cause:
                                      Motor vehicle accident between plaintiff, USPS vehicle and another defendant
VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                               50,000                                      JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE          Brody                                                 DOCKET NUMBER 22CV2924
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
                                                                                             RE
Sep 22, 2022                                                        Stacey L.B. Smith
FOR OFFICE USE ONLY

  RECEIPT #                    AMOUNT                                    APPLYING IFP
                                                                                   FP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:22-cv-03801-AB Document 1 Filed 09/23/22 Page 21 of 22
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                             Case 2:22-cv-03801-AB   Document
                                                UNITED          1 Filed
                                                       STATES DISTRICT   09/23/22 Page 22 of 22
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                               408 3rd Street, Brookhaven, PA 19015
Address of Plaintiff: ______________________________________________________________________________________________
                                               400 Edgmont Ave., Chester, PA 19013
Address of Defendant: ____________________________________________________________________________________________
                                                           Upland Street and 6th Street, Upland PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:
                    22-cv-02924
Case Number: ______________________________                                  ANITA B. BRODY
                                                                 Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes   ✔                   No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case          ●   is /     is nott related to any cas
                                                                                              case now pending or within one year previously terminated action in
this court except as noted above.
      09/22/2022
DATE: __________________________________                                      0XVWVLJQKHUH
                                                                              0X
                                                                              0XV
                                                                              0 XXVVWV
                                                                                    W VLLJQ
                                                                                        LJ
                                                                                         JJQ
                                                                                           Q KH
                                                                                             K UH
                                                              __________________________________________
                                                                        _________________                                                   93731
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law
                                                                            orney-at-Law
                                                                                    -    / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
✔      11.    All other Federal Question Cases
                                          Federal Tort Claims Act
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

             Stacey L B Smith
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      09/22/2022
DATE: __________________________________                                    6LJQKHUHLIDSSOLFDEOH
                                                              __________________________________________                                    93731
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
